Case 2:23-cv-04496-WLH-KES Document 11 Filed 07/31/23 Page 1of2 Page ID #:23

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Name _J D € CLERK, U.S. DISTRICT COURT
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER:
Jone Doe
PLAINTIFF(S), | “2. 123-(V- HH4G - WLH- Kes
Vv.
United States DCA 1476 NOTICE OF APPEAL
) DEFENDANT(S).
NOTICE IS HEREBY GIVEN that_ Jane Doe, hereby appeals to
Name of Appellant

the United States Court of Appeals for the Ninth Circuit from:

Criminal Matter Civil Matter

O Conviction only [F.R.Cr.P. 32(j)(1)(A)] CL) Order (specify):
O Conviction and Sentence
LC] Sentence Only (18 U.S.C. 3742)

C) Pursuant to F.R.Cr.P. 32(j)(2) WH Judgment (specify):

1 Interlocutory Appeals : —r\fe . _-Vec

C Sentence imposed: Zz ‘L4 -CV O44HAG WLH KES
C] Other (specify):

DO Bail status:

Imposed or Filed on O07 -O06 -2.023 . Entered on the docket in this action on

A copy of said judgment or order is attached hereto.

7-31-2023 LAA

Date Signature
M Appellant/ProSe Counsel for Appellant 0 Deputy Clerk

Note: The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).

A-2 (01/07) NOTICE OF APPEAL
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JANE DOE

V.

UNITED STATES, DCA 1976
CASUAL INFORMAL COPY

JUDGMENT FROM CV-73 COURT
FORM

DISCLIMER NOTICE: THE
IGNORANCE OF THE COURT
DOCKET SYSTEM HAS LEFT
PLAINTIFF (WHO FILED FOR
ELECTRONIC PERMISSION)
UNABLE TO RETRIEVE THE EMAIL
SIGNIFYING LAWSUITS FILED
ACTIVITIES. (INOTHER WORDS IT
WAS TEMPORARY VIEWING?)

CASE 2:23-CV-— 04496 -WLH —KES.
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